Case 22-59731-pmb            Doc 25      Filed 03/10/23 Entered 03/10/23 07:42:46                     Desc Main
                                        Document      Page 1 of 32




                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                                )        CHAPTER 7
                                                      )
GLENN JEFFREY DACRUZ                                  )        22-59731-pmb
                           Debtor.                    )
---------------------------------------------------------------------------------------------------
                                                      )
THE BANK OF NEW YORK MELLON )
FKA THE BANK OF NEW YORK                              )
SUCCESSOR INDENTURE TRUSTEE                           )
TO JPMORGAN CHASE BANK, N.A.,                         )
AS INDENTURE TRUSTEE ON BEHALF )
OF THE NOTEHOLDERS OF THE                             )
CWHEQ INC., CWHEQ REVOLVING                           )
HOME EQUITY LOAN TRUST,                               )
SERIES 2005-H                                         )
                           Movant,                    )
                                                      )        CONTESTED MATTER
v.                                                    )
                                                      )
GLENN JEFFREY DACRUZ,                                 )
S. GREGORY HAYS, Trustee                              )
                           Respondents.               )
____________________________________/

                                          NOTICE OF HEARING

         PLEASE TAKE NOTICE that THE BANK OF NEW YORK MELLON FKA THE

BANK OF NEW YORK SUCCESSOR INDENTURE TRUSTEE TO JPMORGAN CHASE

BANK, N.A., AS INDENTURE TRUSTEE ON BEHALF OF THE NOTEHOLDERS OF

THE CWHEQ INC., CWHEQ REVOLVING HOME EQUITY LOAN TRUST, SERIES

2005-H, has filed a motion for relief from stay and related papers with the Court seeking an order

granting relief from stay.

         PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic hearing

for announcements on the Motion for Relief at the following number: 833-568-8864, Meeting
Case 22-59731-pmb        Doc 25     Filed 03/10/23 Entered 03/10/23 07:42:46             Desc Main
                                   Document      Page 2 of 32



ID:161 706 9079, at 1:00 P.M. on April 3, 2023, Courtroom 1202, U.S. Courthouse, 75 Ted

Turner Drive, S.W., Atlanta, GA 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video

conference, or in person, either on the date set forth above or on some other day, all as determined

by the Court in connection with this initial telephonic hearing. Please review the “Hearing

Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual

Bankruptcy Hearing Information” link at the top of the webpage for this Court,

www.ganb.uscourts.gov for more information. Your rights may be affected by the court’s ruling

on these pleadings. You should read these pleadings carefully and discuss them with your attorney,

if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult

one.) If you do not want the court to grant the relief sought in these pleadings or if you want the

court to consider your views, then you and/or your attorney must attend the hearing. You may also

file a written response to the pleading with the Clerk at the address stated below, but you are not

required to do so. If you file a written response, you must attach a certificate stating when, how

and on whom (including addresses) you served the response. Mail or deliver your response so that

it is received by the Clerk at least two business days before the hearing. The address of the Clerk's

Office is Clerk, U. S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303.

You must also mail a copy of your response to the undersigned at the address stated below.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty

(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of

filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the

automatic stay remaining in effect until the Court orders otherwise.
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46     Desc Main
                             Document      Page 3 of 32




                                            /s/Brian K. Widener
                                            Brian K. Widener
                                            The Albertelli Firm, PC
                                            100 Galleria Parkway Ste 960
                                            Atlanta GA 30339
                                            GA Bar Number 757327
                                            Alternate: bwidener@albertellilaw.com
Case 22-59731-pmb        Doc 25     Filed 03/10/23 Entered 03/10/23 07:42:46              Desc Main
                                   Document      Page 4 of 32



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via

Regular U.S. Mail and/or Electronic Mail to the parties listed on the attached service list, this

10th day of March, 2023.

                                                      /s/Brian K. Widener
                                                      Brian K. Widener
                                                      The Albertelli Firm, PC
                                                      100 Galleria Parkway Ste 960
                                                      Atlanta GA 30339
                                                      GA Bar Number 757327
                                                      Alternate: bwidener@albertellilaw.com

SERVICE LIST

Glenn Jeffrey Dacruz
2108 Woodrion Drive
Duluth, GA 30097

Charles M. Clapp
Law Offices of Charles Clapp, LLC
5 Concourse Parkway NE
Suite 3000
Atlanta, GA 30328

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
Case 22-59731-pmb            Doc 25       Filed 03/10/23 Entered 03/10/23 07:42:46                     Desc Main
                                         Document      Page 5 of 32



                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                                )        CHAPTER 7
                                                      )
GLENN JEFFREY DACRUZ                                  )        22-59731-pmb
                           Debtor.                    )
---------------------------------------------------------------------------------------------------
                                                      )
THE BANK OF NEW YORK MELLON )
FKA THE BANK OF NEW YORK                              )
SUCCESSOR INDENTURE TRUSTEE                           )
TO JPMORGAN CHASE BANK, N.A.,                         )
AS INDENTURE TRUSTEE ON BEHALF )
OF THE NOTEHOLDERS OF THE                             )
CWHEQ INC., CWHEQ REVOLVING                           )
HOME EQUITY LOAN TRUST,                               )
SERIES 2005-H                                         )
                           Movant,                    )
                                                      )        CONTESTED MATTER
v.                                                    )
                                                      )
GLENN JEFFREY DACRUZ,                                 )
S. GREGORY HAYS, Trustee                              )
                           Respondents.               )
____________________________________/

                       MOTION FOR RELIEF FROM AUTOMATIC STAY
                                                    IMPORTANT NOTICE
                                     Bank of America, N.A. (“BANA”) is committed to helping its
                                           Consumer & Small Business clients experiencing
                                      hardship. Depending upon the circumstances of your case,
                                       BANA may be agreeable to a consensual resolution of this
                                        matter through, among other things, a Court approved
                                    temporary deferral of payments, a restructuring of payments,
                                       or a restructuring of payment amounts. If you, or where
                                     applicable any co-debtors, fall into this category, you or your
                                         counsel (if represented) should promptly contact the
                                                undersigned to discuss possible options.


         THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK

SUCCESSOR INDENTURE TRUSTEE TO JPMORGAN CHASE BANK, N.A., AS

INDENTURE TRUSTEE ON BEHALF OF THE NOTEHOLDERS OF THE CWHEQ INC.,

CWHEQ REVOLVING HOME EQUITY LOAN TRUST, SERIES 2005-H (“Movant”) hereby
Case 22-59731-pmb        Doc 25        Filed 03/10/23 Entered 03/10/23 07:42:46         Desc Main
                                      Document      Page 6 of 32



moves this Court, pursuant to 11 U.S.C. § 362, for relief from the automatic with respect to certain

real property of the Debtor(s) having an address of 3679 Seton Hall Way Decatur, GA 30034-5509

(the “Property”), for all purposes allowed by law, the Note (defined below), the Security Deed

(defined below), and applicable law, including but not limited to the right to foreclose. In further

support of this Motion, Movant respectfully states:

        1.     A petition under Chapter 13 of the United States Bankruptcy Code was filed with

respect to the Debtor(s) on December 1, 2022. An order converting the case to a case under Chapter

7 was entered on February 9, 2023.

        2.     The Debtor(s) has/have executed and delivered or is/are otherwise obligated with

respect to that certain promissory note in the original principal amount of $18,440.00 (the “Note”).

A copy of the Note is attached hereto as Exhibit A. Movant is an entity entitled to enforce the

Note.

        3.     Pursuant to that certain Deed to Secure Debt (the “Security Deed”), all obligations

(collectively, the “Obligations”) of the Debtor(s) under and with respect to the Note and the

Security Deed are secured by the Property. A copy of the Security Deed is attached hereto as

Exhibit B.

        4.     As of February 23, 2023, the outstanding amount of the Obligations less any partial

payments or suspense balance is $29,151.68. This does not include the attorneys’ fees and

expenses incurred in connection with preparing and pursuing this Motion, which fees and expenses

are set forth in more detail below.

        5.     In addition to the other amounts due to Movant reflected in this Motion, as of the

date hereof, in connection with seeking the relief requested in this Motion, Movant has also

incurred $950.00 in legal fees and $188.00 in costs. Movant reserves all rights to seek an award
Case 22-59731-pmb        Doc 25      Filed 03/10/23 Entered 03/10/23 07:42:46          Desc Main
                                    Document      Page 7 of 32



or allowance of such fees and expenses in accordance with applicable loan documents and related

agreements, the Bankruptcy Code and otherwise applicable law.

       6.      As of February 23, 2023, the Debtor(s) has/have failed to make ninety-two (92)

payments due pursuant to the terms of the Note. The loan is contractually due for June 25, 2015

and all subsequent payments representing a total delinquency of $19,411.81.

       7.      The estimated market value of the Property is $246,500.00. The basis for such

valuation is Debtor’s Schedule D.

       8.       Upon information and belief, the aggregate amount of encumbrances on the

Property listed in the Schedules or otherwise known, including but not limited to the encumbrances

granted to Movant, is $144,151.68.

       9.      Cause exists for relief from the automatic stay for the following reasons:

            (a) Movant’s interest in the Property is not adequately protected.

            (b) Payments have not been made to Movant.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the

stay and granting the following:

       1.      Relief from the stay for all purposes allowed by law, the Note, the Security Deed,

and applicable law, including but not limited allowing Movant (and any successors or assigns) to

proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain

possession of the Property.

       2.      That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       3.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46         Desc Main
                             Document      Page 8 of 32



      4.   For such other relief as the Court deems proper.



                                                /s/Brian K. Widener
                                                Brian K. Widener
                                                The Albertelli Firm, PC
                                                100 Galleria Parkway Ste 960
                                                Atlanta GA 30339
                                                GA Bar Number 757327
                                                Alternate: bwidener@albertellilaw.com
Case 22-59731-pmb            Doc 25      Filed 03/10/23 Entered 03/10/23 07:42:46                     Desc Main
                                        Document      Page 9 of 32




                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                                )        CHAPTER 7
                                                      )
GLENN JEFFREY DACRUZ                                  )        22-59731-pmb
                           Debtor.                    )
---------------------------------------------------------------------------------------------------
                                                      )
THE BANK OF NEW YORK MELLON )
FKA THE BANK OF NEW YORK                              )
SUCCESSOR INDENTURE TRUSTEE                           )
TO JPMORGAN CHASE BANK, N.A.,                         )
AS INDENTURE TRUSTEE ON BEHALF )
OF THE NOTEHOLDERS OF THE                             )
CWHEQ INC., CWHEQ REVOLVING                           )
HOME EQUITY LOAN TRUST,                               )
SERIES 2005-H                                         )
                           Movant,                    )
                                                      )        CONTESTED MATTER
v.                                                    )
                                                      )
GLENN JEFFREY DACRUZ,                                 )
S. GREGORY HAYS, Trustee                              )
                           Respondents.               )
____________________________________/

                                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via

Regular U.S. Mail and/or Electronic Mail to the parties listed on the attached service list, this

10th day of March, 2023.



SERVICE LIST

Glenn Jeffrey Dacruz
2108 Woodrion Drive
Duluth, GA 30097
Case 22-59731-pmb       Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                                 Document     Page 10 of 32



Charles M. Clapp
Law Offices of Charles Clapp, LLC
5 Concourse Parkway NE
Suite 3000
Atlanta, GA 30328

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 11 of 32




                             EXHIBIT A
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 12 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 13 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 14 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 15 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 16 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 17 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 18 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 19 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 20 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 21 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 22 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 23 of 32




                             EXHIBIT B
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 24 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 25 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 26 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 27 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 28 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 29 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 30 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 31 of 32
Case 22-59731-pmb   Doc 25    Filed 03/10/23 Entered 03/10/23 07:42:46   Desc Main
                             Document     Page 32 of 32
